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 1                                        THE HONORABLE JAMES L. ROBART
 2

 3

 4

 5
                         UNITED STATES DISTRICT COURT
 6                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 7

 8
     AUBRY MCMAHON,
 9                                              CASE NO. 2:21-CV-00920-JLR
                Plaintiff,
10
                                                DEFENDANT WORLD VISION’S
11        vs.                                   REPLY IN SUPPORT OF SUMMARY
                                                JUDGMENT (ROUND 2)
12   WORLD VISION, INC.
13                                              NOTE ON MOTION CALENDAR:
                Defendant.                      October 20, 2023
14
                                                ORAL ARGUMENT REQUESTED
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 1   I.       INTRODUCTION.
 2
              “’All agree this case is ripe for summary judgment.’” Pls. MSJ-II Opp./Dkt. 56
 3
     at 2. This undisputed record and the applicable law compel judgment for World Vision
 4
     on each remaining defense. Each requires exempting Plaintiff’s role. The simplest path
 5

 6   may be the Ministerial Exception, which may be why Plaintiff has invested so much

 7   effort opposing it. Regardless, Plaintiff has a steep hill to climb. This becomes clear by
 8
     considering the strength of the defense she treats most dismissively: lack of neutrality
 9
     and general applicability under the First Amendment.
10

11            “Plaintiff does not dispute World Vision’s refusal to hire anyone who is in a

12   same-sex marriage is based upon sincerely held religious beliefs.” Pls. MFR/Dkt.40 at
13
     2. Thus, WV’s marriage policy is based on religious “doctrine[, not] secular animus.”
14
     Alicea-Hernandez v. Cath. Bishop, 320 F.3d 698, 703 (7th Cir. 2003). Indeed, “how could
15

16   one distinguish religious discrimination from sex discrimination in [this] situation?”

17   Starkey v. Roman Cath. Archdiocese, 41 F.4th 931, 947 (7th Cir. 2022) (Easterbrook
18
     concurrence). Accordingly, nobody accuses WV of invidious intent, hostility, or
19
     animus. But labeling a marriage policy like WV’s—with facial distinctions like WV’s—
20

21   as “discriminatory” can itself be “discriminatory.” FCA v. San Jose Unified Sch. Dist., 82

22   F.4th 664, 692 (9th Cir. 2023) (en banc). If Title VII and WLAD operate to grant secular
23
     exemptions while denying a religious one to WV, their application to WV will be non-
24
     neutral “no matter how well-intentioned,” id. at 695, “regardless of design or intent,”
25

26   id. at 689, and “even in the absence of any motive to do so,” id. at 672, and will be

27

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 1   “subject to strict scrutiny regardless of the government’s benign motive, content-
 2
     neutral justification, or lack of ‘animus,’’’ id. at 686 n.8.
 3
            But non-general applicability presents an even easier case. Ever since Church of
 4

 5   Lukumi v. City of Hialeah, 508 U.S. 520 (1993), the Court has been refining the test of

 6   individualized/discretionary exemptions from Emp. Div. v. Smith, 494 U.S. 872 (1990).
 7
     Fulton v. Philadelphia, 141 S.Ct. 1868 (2021) rejected a cramped view of this test. Tandon
 8
     v. Newsom, 141 S.Ct. 1294 (2021) ignored it altogether. As FCA shows, the test is this:
 9

10   (1) whether “any comparable secular activity [is being treated] more favorably than

11   religious exercise,” Tandon, 141 S.Ct. at 1296, and, if so, (2) what is “the asserted
12   government interest that justifies the regulation at issue,” id., and (3) what is “the
13
     asserted harm of granting specific exemptions to particular religious claimants,”
14
     Fulton, 141 S.Ct. at 1881, since, (4) if there is no compelling “interest in denying [such]
15

16   an exception,” id., (5) it “must” be granted, id. FCA fully enforced this Tandon-driven

17   mandate that religious exercise be treated at least as well as any comparable secular
18
     exercise—with comparability judged by the asserted interests of the law at issue.
19
            Yeshiva Univ. v. YU Pride All., 143 S.Ct. 1 (2022) shows how this test governs a
20

21   sexual-conduct policy. Justice Sotomayor stayed a state court decision that ordered a

22   Jewish college to recognize a LGBT student group. The Court vacated that stay (5-4)
23
     solely because “applicants have at least two further avenues for expedited or interim
24
     state court relief. If applicants seek and receive neither expedited review nor interim
25

26   relief from the New York courts, they may return to this Court.” Id. Four justices didn’t

27   want to wait. Id. at 1-3 (Alito, Thomas, Gorsuch, Barrett, JJ., dissenting). And their

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 1   application of the controlling Lukumi/Fulton/Tandon First Amendment analysis is
 2
     illustrative here.
 3
            “[Title VII] treats a vast category of secular groups more favorably than
 4

 5   religious [groups] like [WV].” Yeshiva, 143 S.Ct. at 2. For example, Title VII “exempts

 6   any” employer with fewer than 15 employees and “is therefore inapplicable to” the
 7
     vast majority of employers. Id. If WV is to be “denied an exemption, [there must be a]
 8
     showing that granting an exemption to [WV] would undermine the policy goals of
 9

10   [Title VII] to a greater extent than the exemptions afforded to hundreds of diverse

11   secular groups.” Id. “Unless [an exemption] is granted, [WV] will be required to [hire
12   those in same-sex marriages and thus] to make a ‘statement’ in support of [a message
13
     and even] an interpretation of [Scripture] with which [it] disagrees. The loss of First
14
     Amendment rights for even a short period constitutes irreparable harm[.]” Id. at 3.
15

16          WV seeks an exemption for itself based on its sincere religious exercise. Both

17   ROEs provide for such an exemption, and the Constitution commands that one be
18
     granted here. Unless Plaintiff shows a compelling reason to deny an exemption to WV,
19
     the Court “must do so” and exempt WV. Fulton, 141 S.Ct. at 1881. The reason is this.
20

21   At least 5,249,162 employers are exempt from Title VII and at least 96,005 Washington

22   employers are exempt from WLAD. Defs. MSJ-II Opp. (“Defs. Opp.”) at 27. The public
23
     interest in protecting citizens from discrimination cannot be compelling—as applied
24
     to WV, on this undisputed record—when exemptions are given to over five million
25

26   other employers. Id. Whether or not such secular exemptions undermine the statutory

27

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 1   interests, they affect those interests in the same way a religious exemption would. Fulton
 2
     and Tandon require a religious exemption here unless strict scrutiny is met.
 3
            On this record, the law compels a specific exemption for one particular religious
 4

 5   claimant: WV. Exempting WV as to the specific role at issue here will not cause the

 6   sky to fall on antidiscrimination law. It will merely add exemption No. 5,249,163 from
 7
     Title VII and exemption No. 96,006 from WLAD. What will cause the sky to fall, or at
 8
     least the First Amendment to fall, is to decide that new protections for sexual traits
 9

10   trump doubly and triply protected First Amendment rights.

11          This brief tracks the order of Pls. MSJ-II Opp. Brief/Dkt.56 (“Pls. Opp.”).
12   II.    NO BINDING AUTHORITY LIMITS THE ROE TO RELIGIOUS CLAIMS.
13
            First, Plaintiff reasserts her “solid wall” of authority to mean Title VII’s ROE
14
     covers only “religious discrimination claims.” Pls. Opp. 3. But nothing compels the
15

16   view that “This subchapter shall not apply” means “This subchapter shall apply to

17   everything except claims for religious discrimination.” Plaintiff’s “solid wall” is dicta
18
     in two 40-year-old cases that involved no credible claim of religiously motivated
19
     staffing and that pre-date Corp. of Presiding Bishop v. Amos, 483 U.S. 327 (1987) and the
20

21   many ROE decisions that followed. Defs. MSJ 16-20; MSJ Reply/Dkt.34 at 3-11.

22          Second, Plaintiff opposes WV’s use of Garcia v. Salvation Army, 918 F.3d 997 (9th
23
     Cir. 2019). WV relies on two excerpts: (1) “First, the ROE’s text reaches beyond hiring
24
     and firing. Congress ‘painted with a broader brush, exempting religious organizations
25

26   from the entire subchapter of Title VII with respect to the employment of persons of a

27   particular religion. The ‘entire subchapter’ of Title VII includes protections against

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 1   retaliation and discriminatory harassment amounting to a hostile work environment.”
 2
     918 F.3d at 1004. (2) “In a final effort to avoid the ROE’s reach, Garcia maintains that
 3
     she has not pleaded a cause of action labeled ‘religious discrimination.’ Even so, the
 4

 5   complaint centers around religious discrimination.” Id. at 1005. These excerpts, in

 6   context, speak for themselves.
 7
     III.   THE ROLE PLAINTIFF SOUGHT FULFILLS ME DUTIES.
 8
            A.     WV Accurately Quotes Governing Law.
 9
            First, Plaintiff says WV “misstates the governing law.” Pls. Opp. 3. WV simply
10

11   quotes from Our Lady of Guadalupe v. Morrissey-Berru, 140 S.Ct. 2049 (2020) and

12   Hosanna-Tabor Evangelical Lutheran Church v. EEOC, 565 U.S. 171, 189 (2012). Plaintiff’s
13
     disagreement is with those cases.
14
            Second, Plaintiff says that “having a religious role is insufficient to trigger the”
15

16   ME. Pls. Opp. 4. That may be so, but the small subset of WV employees known as

17   DCSRs fulfill particular “religious roles”—i.e., “personif[ication],” “messenger,”
18
     “voice,” and/or “key” roles—identified as ME touchstones by Hosanna and OLG. Defs.
19
     Opp. 8-9. In WV’s ministry, where calls with supporters and potential supporters are
20

21   vital, “DCSRs handle nearly all inbound and most outbound calls.” Id. While all WV

22   employees have “religious roles,” the unique and vital religious role of DCSRs to voice
23
     and personify WV’s ministry to the world constitutes a fraction of all religious roles at
24
     WV. Id. at 8-9, 17-18. Surely, this role qualifies as “distinct from that of most of [WV’s]
25
     members.” Pls. Opp. 5 (quoting Hosanna, 565 U.S. at 191).
26

27

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 1          Third, Plaintiff says an employer cannot show ME entitlement “simply by
 2
     asserting that everyone on its payroll is a minister[.]” Pls. Opp. 4 (quoting Fitzgerald v.
 3
     Roncalli H.S., 73 F.4th 529, 531 (7th Cir. 2023)). WV made no such assertion. Employers
 4

 5   define the duties and expectations for each job and those duties and expectations either

 6   qualify the job for the ME or do not. For DCSRs, they do. Defs. MSJ-II/Dkt.53 at 3-14;
 7
     Opp. 6-21. If Plaintiff is saying workers can define (or defy) their own job duties, or
 8
     their employer’s expectations, her position defies Hosanna, OLG, Fitzgerald, and reality.
 9
            B.     DCSR Duties Are ME Duties, Esp. When Considered Holistically.
10

11                 1.     The Job Posting, Application Process, and Other Undisputed
                          Evidence Clearly Showed ME Duties.
12
            First, Plaintiff argues that courts must “take all relevant circumstances into
13

14   account.” Pls. Opp. 5 (quoting OLG, 140 S.Ct. at 2067). WV agrees. But to Plaintiff, “all

15   relevant circumstances” means only those that support her case. The extensive audio,
16
     visual, and documentary evidence of ME duties submitted by WV contrasts starkly
17
     with the few pages and selective quotes submitted by Plaintiff.
18

19          Second, Plaintiff says WV “does not suggest that the Hosanna-Tabor factors

20   support application of the ministerial exception in this case.” Id. But that is exactly
21
     what WV suggests. Defs. Opp. 10-11. DCSRs meet Hosanna, as WV has argued, and
22
     easily meet OLG, the more recent and controlling precedent. Id.
23

24          Third, Plaintiff says DCSRs have no “important position of trust.” Pls. Opp. 5.

25   That is a peculiar description of the primary messenger, mouthpiece, and personifier

26   of WV’s entire faith and mission to the world. In any case, it is just one possible factor.
27

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 1          Fourth, Plaintiff demeans DCSR religious training by isolating two sentences in
 2
     the Job Posting. Id. at 6. Plaintiff omits not only all the religious criteria in the Posting
 3
     but all the formal training DCSRs receive during their training period and thereafter.
 4

 5   Christianity is learned not only by reading Scripture and creeds, but by doing, being,

 6   and associating. Christians learn to pray by praying, by hearing it, by participating
 7
     with others doing it, by listening to God’s response during it, and by nurturing and
 8
     encouragement. This is made crystal clear in the Job Posting and by the DCS-led
 9

10   chapels, prayer calls, and shout-outs. SO-01/Dkt.29-1 (WV0050); Defs. MSJ-II 8-12.

11          Fifth, Plaintiff belittles the role by emphasizing its “low wage” and remote
12   working environment. Pls. Opp. 15, 6-7. But many believers called to ministries like
13
     WV accept, or even prefer, low wages out of religious commitment. Under Plaintiff’s
14
     definition, Mother Teresa would not qualify.
15

16          Sixth, Plaintiff again condemns the 2022 Job Posting, id. n.2, though it is doubly

17   verified. It is expressly incorporated into WV testimony. SO/Dkt.29 at ¶24 & SO-11.
18
     Its key content is separately addressed in WV testimony. Id. at ¶¶17-57.
19
            Seventh, Plaintiff says the DCSR’s “primary function” is to “[s]erve as a liaison”
20

21   with “donors and the general public.” Pls. Opp. 7. The “primary” function of DCSRs

22   is to witness to Christ and serve as primary messenger, mouthpiece, and personifier
23
     of WV’s faith and mission to the world. Liaising is a part of this.
24
            Eighth, Plaintiff points to a number of DCSR duties that appear secular to imply
25

26   the role must be essentially secular. That was not the law even before OLG and even

27   according to a concurring opinion Plaintiff cites many times: “Hosanna [and OLG]

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 1   clarify that the ministerial exception can apply even when an employee, in addition to
 2
     performing religious functions, has substantial secular responsibilities.” Palmer v.
 3
     Liberty Univ., 72 F.4th 52, 71 (4th Cir. 2023) (Motz concurrence). Judge Richardson’s
 4

 5   concurrence provides even greater support for WV. Id. at 75-83.

 6         Ninth, Plaintiff ignores many religious duties she would have as a DCSR. The
 7
     Job Posting requires that she “[l]earn and effectively communicate [WV’s] ministries
 8
     and projects,” Pls. Opp. 8, “to current and potential donors,” id. at 7. She would
 9

10   “perform ‘ministry’ through outbound and inbound calls being able to explain World

11   Vision’s ministry, its programs and how World Vision witnesses to Christ in its
12   work[.]” SO ¶42. The record is full of such religious ministries and projects, e.g.,
13
     “Empowered Worldview,” which “integrates Scripture to help people restore their
14
     true identity in Christ, recognize their God-given value and use their talents and
15

16   resources to change their lives.” Dkt.28-17 (WV1138). Each day Plaintiff would explain

17   such WV programs to callers so that “[e]very current, and potential donor and partner
18
     will clearly understand our mission to bear witness to Jesus Christ—through life, deed,
19
     word, and sign—in ways that encourage people to respond to the gospel of Jesus
20

21   Christ,” Dkt.29-19 (WV1125)—i.e., evangelism. Accord Defs. Opp. 12-13.

22         Tenth, Plaintiff distorts WV’s Giving Word to Our Faith Framework (“GWF”). Pls.
23
     MSJ-II 14. WV refuted these distortions and provided the full GWF document, which
24
     speaks well for itself. Defs. MSJ Reply/Dkt.34 at 12 n.10 (and exhibit noted therein).
25

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 1          Eleventh, Plaintiff distorts 30(b)(6) deposition testimony by quoting counsel’s
 2
     question as though it were WV’s answer, while omitting the actual answer. Pls. MSJ-
 3
     II/Dkt.52 at 9 (“main duty”). Contrary to Plaintiff’s representations, WV testified:
 4

 5          “[T]he most significant [duty] is to help carry out our Christian mission—our
            Christian organization’s mission, vision, and strategies, and personifying the—
 6          the—the witnessing to Christ. That those are the main functions, most essential
            responsibilities of this role…. [I]n terms of the importance of the role, the main
 7
            functions are to represent our Christian identity.” [Dkt.25-10 at 20:8-21:2.]
 8
            Twelfth, and overall, Plaintiff selectively cites the record to support her view of
 9

10   the role. Her subjective view is immaterial. The duties of, and expectations for, a DCSR

11   are defined by WV, and are clearly established by the record. Any redefinition of WV’s
12   religious definition of these roles is not only forbidden but offensive.
13
                   2.     Plaintiff’s Job Duties Were Part of Same Small Subset.
14
            First, Plaintiff says “Plaintiff’s Religious Job Duties Would Have Been the Same
15

16   as Those of Every other World Vision Employee.” Pls. Opp. 8-12. Not so. The “religious

17   role” of DCSRs as primary liaison, messenger, mouthpiece, and personifier of WV’s
18
     faith and mission is uniquely vital. Defs. Opp. 8-9. DCSRs constitute a fraction of WV’s
19
     employees (all of whom share many religious duties) and thus a fraction of overall
20

21   religious roles at WV. Id. This fraction has averaged about seven percent (7%) of WV’s

22   workforce from January 2021 until today. Id. Seven percent of all roles is not “all” roles;
23
     nor is seven percent of all job duties “all” job duties.
24
            Second, Plaintiff’s lead case is Ratliff v. Wycliffe Assocs., 2023 WL 3688082
25

26   (M.D.Fla. 2023). Pls. Opp. 8. Plaintiff never explains how a Bible translator’s “Software

27   Developer II,” who merely provides a digital platform, is like a DCSR, who voices and

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 1   personifies a pervasively Christian ministry to the world. Far more apt is Alicea, infra,
 2
     where the Seventh Circuit found a press-secretary role fulfilled the ME.
 3
            Third, in arguing that DCSRs perform the same religious duties as “every other
 4

 5   World Vision employee,” Pls. Opp. 9, Plaintiff catalogues key religious functions of

 6   WV. Id. at 9-12. Those functions, despite Plaintiff’s indifference, are “uniquely”
 7
     performed by the seven-percent subset of employees known as DCSRs. Plaintiff seems
 8
     to think that one role cannot satisfy the ME unless all other roles in the ministry have
 9

10   virtually no religious duties. That contradicts Hosanna and OLG.

11          Fourth, Plaintiff’s agreement that DCSRs are the “Voice, Face, and Heart of
12   World Vision,” id. at 10—which is the pervasively Christian charity that Plaintiff
13
     herself describes it to be, id. at 9-12—is itself sufficient to find a DCSR qualifies for the
14
     ME. Plaintiff’s comparison of DCS to “cable television” call centers, id. at 10, “does not
15

16   pass the straight-face test,” FCA, 82 F.4th at 692.

17          Fifth, while Plaintiff admits praying with donors is a unique DCSR religious
18
     duty, she reverts to her flawed “mandatory requirement”—no job duty counts unless
19
     it is a mandate whose slightest violation is a fireable offense. Pls. Opp. 11. This
20

21   disregards the law and how WV as a ministry disciples its staff. Defs. Opp. 14-18.

22          Sixth, Plaintiff minimizes DCSR prayer with two assertions: (1) WV “does not
23
     proselytize [in its] services” to its beneficiaries (quoting Spencer), and (2) praying “with
24
     a donor or a potential donor [is not] religious education or indoctrination.” Pls. Opp.
25

26   11. The first assertion is true but irrelevant; the focus here is not WV’s beneficiaries but

27   its supporters and potential supporters who interact all day every day with DCSRs. The

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 1   second assertion is false. DCSRs educate and indoctrinate callers in WV’s religious
 2
     doctrines and programs and hope to evangelize them for Christ. Supra at 8-9.
 3
            Seventh, and fatally, Plaintiff’s overview of the uniquely, pervasively Christian
 4

 5   character of WV and its employees, Pls. Opp. 9-12, testifies to the religious thicket here.

 6   There is no way to neatly divide sacred from secular here. There are no neutral
 7
     principles that can decide it. There is no proper way to choose Plaintiff’s view of
 8
     Christianity over WV’s, or to second-guess WV’s determination that she is not the kind
 9

10   of Christian who meets WV’s religious hiring criteria. See infra.

11                 3.     ME Qualification Would Apply Only to Plaintiff’s Position.

12          First, Plaintiff argues that a ME ruling would “Strip All World Vision
13
     Employees and Most Customer Service Employees of Religious Employers of their
14
     Legal Protections from Employment Discrimination.” Pls. Opp. 12-15. But, at most, a
15

16   ME ruling here covers only the seven percent of WV employees who perform the

17   unique religious duties of DCSRs. That would not strip all WV employees—nor most
18
     customer service agents of religious employers everywhere—of legal protection. And
19
     WV seeks only a narrow exemption as to one applicant, Plaintiff, which is required by
20

21   multiple First Amendment doctrines. This Court’s ruling would have no binding effect

22   beyond that one exemption. See Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011).
23
            Second, Plaintiff says WV has ignored the ME’s “fundamental purpose.” Pls.
24
     Opp. 5, 13, 15. What WV has done all along is to demonstrate the ME touchstones of
25

26   “personif[ication],” “messenger,” “voice,” and/or “key role” that Hosanna and OLG

27   say demonstrate the ME’s “fundamental purpose.” Defs. Opp. 8-9.

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 1          Third, DCSRs don’t just “interface with the public.” Pls. Opp. 13. At WV, where
 2
     financial, spiritual, and prayer support depends on supporters and potential
 3
     supporters, “DCSRs handle nearly all inbound and most outbound calls.” Defs. Opp.
 4

 5   9. DCSRs interface, yes. They also liaise, personify, indoctrinate, and evangelize, and

 6   not just to one constituency, e.g., Alicea (Hispanic community), but to many WV
 7
     constituencies. DCSRs fit the ME better than the plaintiff in Alicea.
 8
            Fourth, Plaintiff says DCSRs are mere “switchboard operators” who play no
 9

10   role in “determin[ing] how best to reach donors.” Pls. Opp. 14. This ignores the

11   uncontested (1) testimony of WV managers and (2) illustrations of DCS-led chapels,
12   prayer calls, and shout-outs. Each day, DCSRs develop the skills and the passion to
13
     reach each supporter/partner for Christ and for WV’s beneficiaries:
14

15                “[I]t’s a calling to come to [WV where we] actually pray for people all

16                 over the world when we answer [the phone] and ask, Can I pray for you?

17                 … And then God gets to use us in a mighty way[.]” Defs. MSJ-II 9.
18
                  “I’m glad I get to be the mouthpiece … by opening up my mouth and
19
                   allowing for the Holy Spirit to flow like living water, this allows room
20

21                 for the donor to know more about how they can actually help[.] Id. at 10.

22
                  “[DCSR: If] you’re comfortable, would you be okay if I prayed right now
23
                   over the phone? [Donor:] Yes. Definitely. That would be great. [DCSR:
24
                   prays specifically for this donor’s needs. Donor:] Amen. Thank you so
25

26                 much for that.” Id. at 11.

27

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 1                  “[Donor called] to say: ‘[DCSR] was amazing [and such] a blessing today
 2
                     for me because I asked for prayer and [she] encourage[d] me and lifted
 3
                     me to the Lord and I feel amazing. She is a beautiful human being and
 4

 5                   she praises GOD! She is in the right position.’” Id. (italics added).

 6                  “[Donor] called to [say] she believes [in] World Vision [and that DCSR]
 7
                     is in the right place in the kingdom of God.” Id. (italics added).
 8
     Accord Defs. MSJ/Dkt.26 at 23-28; MSJ Opp./Dkt.32 at 20-26; MSJ Reply/Dkt.34 at 11-
 9

10   16; MSJ-II/Dkt.53 at 3-14; MSJ-II Opp./Dkt.58 at 6-21. The record is extensive.

11   IV.    BELIEVING AND EMBODYING WV DOCTRINE IS A BFOQ.
12          A.       Record Evidence Before and After Rescission Satisfies BFOQ.
13
            First, Plaintiff asserts that knowledge gained by WV after the job rescission is
14
     “legally irrelevant.” Pls. Opp. 15. This is not true. Just as employers define the duties
15

16   and expectations that fit or don’t fit the ME, they define the occupational qualifications

17   that meet or don’t meet BFOQs. WV agrees with Judge Berzon that, if WV did “not
18
     qualify for the ROE,” it has a “strong argument” that belief in its specific Christian
19
     doctrines is a BFOQ for any/all WV employees “directly involved in carrying out [its]
20

21   religiously-motivated humanitarian mission.” 633 F.3d at 756 (Berzon, J., dissenting).

22   An essential part of WV’s specific Christian doctrine is its Biblical marriage/sexual
23
     conduct policy. 6/12/23 Order 2-5 (describing WV policies). It is a BFOQ.
24
            Second, here and as to all WV defenses, due to what WV was bound to learn
25

26   about Plaintiff, WV “would have reached the same decision even if she were not” in a

27   same-sex marriage, since she firmly opposed WV’s marriage policy and advocated

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 1   against such policies. Defs. MSJ 14 & n.12; Opp. 8; Maguire v. Marquette Univ., 814 F.2d
 2
     1213, 1218 & n.3 (7th Cir. 1987) (given plaintiff’s “pro-abortion stance,” employer
 3
     “would have reached the same decision even if she were a man”). It was “inevitable.”
 4

 5   North v. Madison Area Ass’n, 844 F.2d 401, 408 (7th Cir. 1988). Plaintiff acknowledges

 6   her “LGBTQ activism,” Pls. Opp. 25 n.8, but says it doesn’t matter unless WV knew
 7
     about it when it rescinded her offer, id. Regardless of when WV learned, Plaintiff is a
 8
     “vocal advocate for a conflicting viewpoint,” Defs. MSJ 14 n.12 (quoting Green v. Miss
 9

10   USA, 52 F.4th 773, 805 (9th Cir. 2022) (VanDyke, J., concurring)), and her testimony

11   about it is relevant to her qualifications for the job, id.
12          Third, Plaintiff says that WV “seriously mischaracterizes [her] deposition
13
     testimony.” Pls. Opp. 15. Not so. Here is Plaintiff’s unedited testimony:
14
            Q: So … I think you used the word advocate, to advocate their position on
15
            marriage if anyone called and you were talking to them about it; is that
16          correct?
            A: Yeah. Yeah. I mean I don’t feel like, me personally, I would be
17          comfortable saying much about it. But just stating if they said, What’s
18          World Visions’ view on marriage, I would respond with their exact words
            of World Vision defines marriage between a man and a woman. And if
19          they asked questions or there was any pushback with that, I think at that
            point I would either seek direction from somebody like higher up or just
20
            say that I wasn’t sure how to answer that. Because I think that does get a
21          little bit—that’s something I wouldn’t be comfortable answering, because
            I feel like that gets a little wishy washy and I wouldn’t want to say the
22          wrong thing and turn somebody away or I wouldn’t want to get in
23          trouble. So I would try to stick to the script, if you will.

24   Pls. Dep. 201-202 (emphasis added). Accord id. at 203-204. Plaintiff expressed similar
25
     discomfort over praying with donors. Defs. MSJ-II 14. Her clear discomfort with WV’s
26
     religious expectations is clear evidence why they fulfill both ME and BFOQ.
27

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 1         B.     The BFOQ Is Embodying, Living, and Communicating WV’s Doctrine.
 2         First, Plaintiff says the relevant BFOQ is: “not being in a same-sex marriage.”
 3
     Pls. Opp. 15. That is inaccurate. As Judge Berzon said, WV’s “strong argument” for a
 4
     BFOQ is its requirement to believe in its specific Christian doctrines. Even more so for
 5

 6   DCSRs, due to their unique and vital role. The BFOQ here is for the mouthpiece of WV

 7   to embody, live, and with integrity communicate faithfully, persuasively, and
 8
     convincingly WV’s specific Christian doctrine, which includes its Biblical marriage
 9
     policy. These DCSR duties are BFOQs under religion, sex, and/or sexual orientation.
10

11         Second, Plaintiff’s entire argument here, Pls. Opp. §IV(B), underscores why the

12   essential disputes before the Court are ecclesiastical and doctrinal, and not amenable
13
     to decision consistently with the First Amendment. See also Defs. MSJ/Dkt. 26 at 6-8.
14
     Plaintiff ignores WV’s undisputed explanations why embodying its essential Christian
15

16   doctrines, founded on the authoritative Word of God, is essential to being the voice

17   and personifier of WV’s faith and ministry.
18
           Third, Plaintiff again describes WLAD’s BFOQ as stricter than Title VII’s
19
     without explaining why. WV meets WLAD’s BFOQ the same way. Defs. Opp. 29.
20

21   V.    FEC, FSC, & EAD ALL MUST AND DO APPLY TO EMPLOYMENT.

22         A.     Title VII Triggers the Tests Established by Fulton and Tandon.

23         First, Plaintiff devotes most of her argument to her theme that “There Is No
24
     Standalone Free Exercise, Expressive Association, or Free Speech Defense to a Private
25
     Employment Discrimination Action.” Pls. Opp. 19-28. How could that be? Is
26

27   enforcement of antidiscrimination laws the one sphere of government activity immune

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 1   to the First Amendment? Not even national security is immune to religious freedom
 2
     requirements. Singh v. Berger, 56 F.4th 88 (D.C. Cir. 2022) (rebuking and enjoining
 3
     Marine Corps’ grooming policies infringing religious freedom of recruits).
 4

 5          Second, Plaintiff reasserts neutrality and general applicability. Pls. Opp. 19.

 6   That assertion is a dead end. If a religious exemption to a law harms its goals no more
 7
     than a secular exemption, the religious one must be granted. Supra at §I. Every secular
 8
     exemption in Title VII and WLAD is relevant to the Fulton/Tandon inquiry into the
 9

10   requirement for a religious exemption. Id. WV emphasizes BFOQs only because they

11   make its case even easier: their individualized, discretionary nature meets even a
12   cramped view of Fulton. But see FCA, 82 F.4th at 687 (rejecting “overly narrow” view
13
     of Fulton). The Court must apply “at least” “strict scrutiny,” Kennedy v. Bremerton Sch.
14
     Dist., 42 S.Ct. 2407, 2426 (2022), and exempt WV when that test is not met. Supra at §I.
15

16          Third, Plaintiff reasserts that WV “has not cited a single case accepting these

17   arguments in the context of a private employment discrimination action.” Id. at 19.
18
     This, again, is plainly wrong. From the start, WV has cited Slattery v. Hochul, 61 F.4th
19
     278 (2d Cir. 2023) and Bear Creek Bible Church & Braidwood Mgt. v. EEOC, 571 F.Supp.3d
20

21   571, 590-91 (N.D.Tex. 2021), aff'd on other grounds, 70 F.4th 914 (5th Cir. 2023). Slattery

22   is an employment discrimination case (though not Title VII), and Bear Creek nearly
23
     mirrors our case. Bostock is only three years old. Such post-Bostock cases will continue.
24
            Fourth, Plaintiff’s strongest argument comes from a footnote in a concurrence:
25

26   “[T]here is no general constitutional immunity, over and above the ministerial

27   exception, that can protect a religious institution from the law’s operation.” Little

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 1   Sisters of the Poor v. Penn., 140 S.Ct. 2367, 2398 n.1 (2020) (Kagan, J., joined by Breyer, J.,
 2
     concurring). But that view was endorsed by just two justices; it spoke only to “general
 3
     constitutional immunity” and not application of specific constitutional doctrines in
 4

 5   specific cases; and it didn’t refer to Title VII. Regardless, that view is not the law.

 6          B.      Slattery and Bear Creek Are Both EAD-in-Employment Cases.
 7          Plaintiff argues that “No Court Has Recognized a First Amendment Expressive
 8
     Association Defense to a Private Employment Discrimination Action.” Pls. Opp. 21.
 9
            First, WV has repeatedly cited Slattery and Bear Creek. Both not only recognize
10

11   an EAD defense but use it to rule for religious employers.

12          Second, Hishon v. King & Spalding, 467 U.S. 69 (1984) did not immunize
13
     employment cases from the EAD. If it had, all intervening applications of the EAD in
14
     antidiscrimination cases would have turned out differently. Defs. Opp. 33-34.
15

16          Third, Plaintiff asserts that religious employers such as WV have no “greater

17   rights” under the EAD than do secular employers. But the EAD is just an associational
18
     right to engage in First Amendment freedoms like free exercise of religion. Plaintiff’s
19
     theory completely disregards the Free Exercise Clause and its “special solicitude” for
20

21   religious groups, Hosanna, 565 U.S. at 189, and its double (even triple) protection for

22   “expressive religious activities,” Kennedy, 142 S.Ct. at 2421, 2431, 2433.
23
            Fourth, Plaintiff says WV “has failed to demonstrate ‘any serious burden’ on its
24
     expressive activities from complying with federal and state laws that prohibit
25

26   employment discrimination[.]” Pls. Opp. 24. This is flatly contradicted by Slattery, Bear

27   Creek, and the undisputed record. Defs. Opp. 23, 31-34.

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 1          Fifth, Plaintiff’s reliance on the out-of-circuit district court rulings in Billard and
 2
     in Starkey (on motion-to-dismiss, later abandoned)—the only relevant precedent she
 3
     has—is misplaced. Defs. Opp. 34. There is no good reason to follow those outliers.
 4

 5          Sixth, Dale applies, as does Green, for all the reasons argued in prior briefing,

 6   Defs. MSJ 19-26; Opp. 33, and the reasons explained in Bear Creek.
 7
            Seventh, Plaintiff dismisses Slattery because the antidiscrimination law there
 8
     had “no express exemption for religious employers or for small employers.” Pls. Opp.
 9

10   25. How this harms WV’s EAD defense is a mystery, as is Plaintiff’s remark that the

11   protected pro-choice conduct in Slattery is less protected after Dobbs. The compelled
12   hiring, association, and speech that Plaintiff would impose on WV would subvert its
13
     “primary,” “religious” mission—the “continual[] and steadfast[]” advancement of
14
     which is the “only” reason WV exists. E.g., 6/12/23 Order 3; Defs. MSJ 21-23.
15

16          Eighth, as for strict scrutiny, Plaintiff cannot prove its satisfaction on this

17   undisputed record, under controlling law. See supra at §§I & V; Defs. MSJ 18-19, 25-26;
18
     Opp. 23, 27-34. Failure of strict scrutiny requires an exemption for WV.
19
            C.     303 Creative Substantially Strengthens WV’s Case.
20

21          Plaintiff claims “303 Creative Does Not Aid” World Vision. Pls. Opp. 28. First,

22   Plaintiff says Pittsburgh Press Co. v. Pittsburgh Comm’n, 413 U.S. 376 (1973) means “the
23
     First Amendment does not provide a free speech defense to laws prohibiting facially
24
     discriminatory employment practices.” Pls. Opp. 28. Pittsburgh Press means nothing
25

26   like that. Defs. Opp. 34-37. Second, Plaintiff offers no real support for her theory, which

27   would upend First Amendment law and render indefensible Free Speech precedents

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 1   of the last 50 years, including 303 Creative. Id. Third, a “facially discriminatory” policy
 2
     cannot mean what Plaintiff says. Pls. MSJ-II at 20-29. Policies in these “collision” cases
 3
     over same-sex marriage are much alike. Most make the same facial distinctions as
 4

 5   WV’s. E.g., Maxon v. Fuller Theol., 2021 WL 5882035 (9th Cir. 2021). If such distinctions

 6   were vital, they would have thwarted the religious claimants in 303 Creative, Fulton,
 7
     Masterpiece, FCA, Maxon, Starkey, Butler, Bear Creek, Fitzgerald.1
 8
     VI.    CONCLUSION.
 9
            Plaintiff testified she was “okay” with WV believing its marriage policy “even
10

11   though I didn’t personally believe it … because that’s their choice and their definition

12   of their own Christianity and what it means to them.” Pls. Dep. 201. Any decision for
13
     Plaintiff would choose her view of Christianity over WV’s. Defs. MSJ/Dkt.26 at 6-8
14
     (Pls. Dep. dispute over Christianity and Scripture). Plaintiff’s claims must be rejected.
15

16          Respectfully submitted,

17          DATED this October 20, 2023
18                                                       ELLIS, LI & McKINSTRY PLLC

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26
     1 WV rejects Plaintiff’s use of Fitzgerald to say “[t]here is no dispute … that Title VII prohibits
27   this kind of sex discrimination.” Pls. Opp. 2. That issue was undisputed in Fitzgerald, not here.

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           I certify that this brief has 5,242 words, within the limits of the Court’s 4/5/23
 8   Order (Dkt. 21).

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